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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                              EASTERN DISTRICT OF VIRGINIA

                                        Alexandria Division

 UNITED STATES OF AMERICA                          )
                                                   )
               v.                                  )    Criminal No. 1:19-cr-59
                                                   )
 DANIEL EVERETTE HALE                              )

                    Government's Opposition to Motion to Continue Trial Date

       Eighteen months ago, Daniel Hale was arrested for stealing and disclosing national

defense information without authorization. He has been preparing for the charges lodged against

him ever since. Now, barely four weeks before trial, he moves for a lengthy continuance. He has

no good reason for his motion, and it should be denied.

       A.      Hale's Motorcycle Accident

       Hale first argues that the trial should be continued because, on October 13, 2020, he

suffered a broken ankle and other injuries in a motorcycle accident. Motion to Continue Trial

Date ("Hale's Motion") at 1-2. That accident, while unfortunate, is not grounds to delay a trial

scheduled for six weeks later. Over the past 18 months, Hale has had ample time to prepare for

trial, and even now, he has nearly four weeks more to engage in additional preparation.

       B.      Production of Discovery in October 2020

       Hale next argues that the government provided him with additional discovery only last

month. Id. at 2-3. As this Court knows, the production of discovery documents is an ongoing

process before every complicated trial. In any event, the bulk of the discovery production of

which Hale now complains consists simply of the same documents that he received in discovery

long ago, but that are now formatted slightly differently.
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       Most of last month's productions concerned a discrete anomaly - - brought to the attention

of the government by Hale in September 2020 - - that occurred in the course of the government's

printing out of documents in connection with the investigation long ago. Defense counsel

represented that they found color and shape discrepancies between (a) the documents produced in

discovery by the government that purported to be what Hale printed at NGA; and (b) the

documents that the Reporter published. Accordingly, defense counsel represented that they

intended to argue that, based on the existence of those discrepancies, the Reporter's source must

have been someone other than Hale.

      Upon learning of the defense's interpretation of the significance of the discrepancies, we

investigated the issue promptly. We found that Hale's printing activity at NGA generated

electronic binary computer files that, when rendered into hard-copy documents, show the content

of the documents Hale printed. Hard-copy documents resulting from those binary computer files

were printed early in the investigation, and were provided to the defense long ago. Last month,

we found that the discrepancies that the defense identified are products only of how the

electronic binary computer files were converted into the paper documents that were produced to

defense in discovery in the first place.

       To clarify the confusion caused by the method by which we initially converted the

electronic binary computer files intto paper documents for discovery, we provided to Hale last

month (a) the electronic versions of the binary computer files of the documents that Hale printed

at NGA; (b) copies of those electronic binary computer files as rendered by two particular

viewers (software that enables humans to view binary computer files); and (c) copies of those

electronic binary computer files as printed when the binary files were sent to a printer without

them first being opened in any viewer.


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       These three renderings of the electronic binary computer files - - produced to Hale last

month - - show that the formatting discrepancies that appeared between (a) the published

versions of the documents; and (b) the hard copies of those documents that the government

provided in discovery long ago (to represent the NGA's electronic capture of what Hale printed at

NGA), resulted only from the idiosyncrasies of the software that the government used years ago

to render into paper form the electronic computer files in the first place. In short, with software

that more accurately renders the electronic computer files into paper copies of those files, they

show that the documents that Hale printed were identical to the documents that were published.

       In any event, even absent a continuance, by the time of trial, Hale will have had the

October 2020 discovery productions for more than a month. In other words, he will have had

ample time to digest this discovery production. 1

       C.      This Court's Reasoning in Granting the Government's CIPA § 6 Motion

       Hale's third argument is based on what he claims is this Court's failure to explain its

reasoning for the grant of the Government's motion under CIPA Section 6(a). Id. at 3. Hale's

desire to see this Court's reasoning on the CIPA Section 6 motion, however, is no reason to

continue the trial; after all, he has no right to an interlocutory appeal of that ruling. We suspect

that, in seeking that reasoning, Hale's actual agenda is to obtain another opportunity to revisit this



       1
           Hale appears to accuse the government of providing discovery at the "eleventh hour" for
the purposes of creating "a significant hurdle to his preparation for trial." Hale's Motion at 2
("while this was almost certainly the government's aim. . . "). We hope this invective was merely
the result of an errant omission of the word "not" - - but we respond to it in case it was not a typo.
Once defense counsel, in September 2020, characterized the formatting anomalies as important,
we investigated them promptly. As we represented in Court at the hearing on October 13, 2020,
it was not until October 9, 2020, that we were able to determine the cause for the rendering issues
with the binary files. Further, we provided this discovery promptly after receiving it from the
NGA. In any event, characterization of the timing of the disclosure - - more than a month before
trial - - as occurring "at the eleventh hour" presupposes the existence of a very slow clock.


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Court's ruling from December 3, 2019, barring him from seeking to undercut the government's

proof of harm by introducing evidence of disclosures that were not identical to the classified

national defense information that was disclosed by Hale, but similar to it. Dkt. 98, at p. 3 (ruling

that "to the extent [these materials] relate to NDI which is not charged in the Superseding

Indictment, they are irrelevant. Furthermore, the defendant's proposed substantial similarity

requirement is an unworkable standard"). Accordingly, we suspect that Hale hopes that, in its

decision on the Section 6 motion, this Court will back away from that earlier ruling. Hale already

has had two bites at that same apple; his desire to obtain a third is no grounds for a continuance.

       D.      The Problems Posed by COVID

       Hale's fourth argument is the one to which he devotes the bulk of his pleading - - and the

one that he terms as the most important. In short, Hale argues that the trial should be continued

because the existence of the coronavirus inhibits his ability to obtain a fair trial. Id. at 4-8. We

sympathize with the limitations that Hale will encounter as a result of the pandemic, but they are

ones with which everyone in our society must deal. Indeed, if Hale is entitled to a continuance

because of the coronavirus, then virtually every defendant is - - and the justice system would

grind to a halt. Inasmuch as other defendants are required to go to trial during this difficult time,

Hale must as well.

       We cannot help but point out that, if the existence of the coronavirus justifies a

continuance now, there is no guarantee that conditions will be better months from now. To the

contrary, they may be the same, or even be worse. We know that we can conduct a trial now. As

a result, we should do so now. 2



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           Hale argues that one reason the trial should not be held now is that "hard copy binders
of classified exhibits will likely have to be repeatedly handed to, and collected from, jurors,


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       E. The Government Cannot Try This Case in February

       Hale accurately represented to the Court that we oppose his motion to the extent that he

seeks a continuance of more than one week - - and that if this matter is continued, undersigned

counsel will not be available for a trial in this matter until March. We cannot help but be

disappointed, therefore, that, nevertheless, Hale proposed a trial date for February. To repeat, we

are ready for trial in December - - but if it must be continued, then, as a result of other

commitments, we cannot try this case in January or February.

                                             Conclusion

       For the reasons stated above, the defendant’s motion should be denied. The trial should

not be continued. If it needs to be continued, it should be continued for no more than a week.

And, if it must be continued more than a week, it should not be scheduled before March 2021.

                                               Respectfully submitted,

                                               G. Zachary Terwilliger
                                               United States Attorney

                                       By:         /s/
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witnesses, and court staff." Hale’s Motion at 6. As we have repeatedly represented, however,
the government's exhibits will be declassified for the trial - - so contrary to Hale's claims, no
binders of classified exhibits will be handed to or collected from jurors (or anyone else) at trial.


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 6, 2020, I electronically filed the foregoing Government's

Opposition to Motion to Continue Trial Date with the Clerk of Court using the CM/ECF system,

which will send a notification of such filing (NEF) to counsel of record.



                                                              /s/
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